Case 1:22-cr-00009-DLF   Document 64-2   Filed 05/27/22   Page 1 of 8




                            EXHIBIT 2
          Case 1:22-cr-00009-DLF          Document 64-2          Filed 05/27/22        Page 2 of 8
Victim's Impact Statement- Mother of Victim Vicky Series                                    October 1, 2010


Your Honor and ladies and gentlemen of the court:

My daughter was raped and sexually abused in so many horrible ways, as a child, by
-          He also videotaped her abuse, as he ravaged, raped, and pillaged her 10 year old body. This sick
man shared these repulsive pictures and videos of her on the internet for perverts like himself, to see.
The sexual abuse she suffered at the hands of              , without a doubt, started her agonizing pain,
but this is certainly not where her pain ends, or mine. Yes, the memories and trauma of her abuse still
haunt her, and our family, but, now, there is a new abuser. The new abusers are the sick individuals
who down load her pictures, and enjoy watching her being sexually assaulted as a child. This sickens
    me! Every time these pictures of my daughter are looked at and passed around, the depraved people
doing this are furthering my daughter's pain, shame and abuse. They pass it around like some dirty
magazine, when in fact it's the footage of an abused, helpless child. There are days when the pain from
this is unbearable for me. These vile people increase her pain, and mine. These are certainly not the
hopes and dreams I had for my little girl; this life of pain and shame. It is so terribly sad and painful, to
watch her struggle with this. These awful people are raping my little girl all over again, by cruelly
enjoying her pain and deriving some sick sexual pleasure out of it. The knowledge of this sends me into
mourning; mourning the loss of my child's dignity and well being, and mourning the fact that she suffers
such deep pain. I have watched her suffer so much already and it kills me. I have to watch her suffer
still, at the hands of people wanting to view the nightmare of her abuse, as her innocence was being
robbed. She was a child and helpless, and made to do disgusting things she did not want to do.
Approval from                         came only when she carried out his every dirty command. He posed
her, insisted she say certain things, and made her force a smile as he was brutalizing her. When I think
of my daughter being groomed and posed and make to feel so dirty in these perverted, and depraved
pictures, and videos, it hurts me to the core. I wonder how there can be people that could actually
enjoy watching my little girl getting raped, and sexually abused. I wish they knew how much it hurts,
and how much they are worsening our pain. Knowing that these disturbing videos of her and her abuser
are being viewed, and are continuing to foster this corrupt sexual behavior, bring a lot of pain, stress
and shame to her. At the cost of here dignity, modesty, and innocence, people viewing those images of
her, are furthering the terrible addiction of child pornography for themselves and others they pass it on
to. Those images are not who my daughter is, or ever wanted to be, but because she was robbed of her
innocence, forced to do ugly things, and it was videotaped, she is continually being viewed as someone
she is not. She is in fact the opposite. These offenders are still victimizing and torturing her, bringing
pain and shame every time they look at those images of her. As her mother, I share in this
heartbreaking pain and the sadness this brings to me is unending. These viewers need to understand
that there is a helpless little girl on the other side of these videos, whose innocence and childhood were
shattered and viewing these things make them a part of the abuse, and unimaginable pain my daughter,
and our family have to face all the time. Making viewing, and downloading child pornography is wrong
and a crime. I hope everyone can know that child pornography is not a victimless crime by the
statement I've shared with you about my daughter, and our family's constant pain and struggle.




                                                 Page 1 of 3
       Case 1:22-cr-00009-DLF             Document 64-2           Filed 05/27/22        Page 3 of 8
Victim's Impact Statement- Mother of Victim Vicky Series                                    October 1, 2010


Update 10/01/2010

Now as a young adult, my daughter's life is still very hard and she still struggles so much, due to her
sexual abuse and it being constantly viewed. I also struggle. It is so devastating to know your child's life
has been brutalized, and to make matters worse, it has been released to the public for any deviant, at
the press of a button, to view and continue this sickening process of enjoying my daughter's pain.

Although, she is making progress and growing stronger, this still has a major grip on her life, as it also
does on mine. She has never had a boyfriend, due to trust issues and fear of relationships. She does
very well in college and is trying to open herself up more to her friends, and fellow students. This is
going to be a continuing process. She feels like she is marked with a scarlet letter because of her
victimization and rape, marking her with shame. The pornographic images of her are out there
continually being viewed, and will continue to be forever.

If I could quote my daughter in something she often says in describing how she feels about these people
downloading her images .... lf you can imagine having a bad picture of yourself taken, one that you're
really embarrassed about .... now picture yourself naked, being raped and abused and hurt at the age of
nine or ten .... your pictures of abuse at the hands of someone else are now being viewed for anyone to
see at the touch of a button on a computer ..... these viewers are even interacting with your images of
abuse. That is how she feels everyday ...... wondering who is going to see her next.

As I write this impact statement I find myself drained because of the emotional strain and pain that
comes from reliving this horrible ongoing crime that terribly affects me and my family. It's a huge
sorrow every day of my life, and my daughter's life, knowing her images of abuse are being traded,
viewed, and inter acted with, by sick people using her nine year old body as a sexual thrill. To know
these perverted people want to partake in, and are excited about the horror of your child's little body
being raped over and over again makes me sick! These viewers know she is a child. They can very clearly
see that. It makes no difference to them. They're the reason my daughter and our family have to keep
reliving this horror of her abuse because they keep it going. They keep viewing it and passing it on to
others. She didn't have a choice .... they do!! Their choice is traumatizing my daughter and exploiting the
broken pieces of her life. These viewers made the choice to descend to the lowest degree and rape her
with their eyes, and with their minds, as she was being robbed of her innocence at 9 years old. I feel
robbed every time I get notified of another case involving my daughter's images. I feel like some part of
her is being taken and used and abused every time I hear of another perpetrator. Can you imagine how
hard it is for her to regain her self esteem, dignity, and well being? It confuses me that some people in
powerful positions can believe this is a victimless crime ..... not only is our daughter a victim, but our
family is also.

As her mother, the sadness of what has happened to her and what is still happening to her is unending.
They say time is a healer of all wounds, but I have yet to feel this pain sub side.

Child pornography is a crime and those viewing it are committing a crime that always hurt the child or
children who are involved. It is destructive in every way to the viewer as well. This crime needs to have
severe consequences because of the devastating pain, fear, and shame it causes children. This pain

                                                  Page 2 of 3
       Case 1:22-cr-00009-DLF             Document 64-2           Filed 05/27/22        Page 4 of 8

Victim's Impact Statement- Mother of Victim Vicky Series                                   October 1, 2010


does not end for the child or their families, but continues on for the rest of their lives. I wish I could take
away my daughter's pain and give her back what has been stolen from her. I cannot, but I am asking for
accountability from the individuals who have hurt her and are continuing to hurt her. For my daughter
and countless others who are victims of such a terrible and painful crime; please grant us justice today!

Sincerely,




                                                  Page 3 of 3
 Case 1:22-cr-00009-DLF           Document 64-2         Filed 05/27/22       Page 5 of 8




                                     VERIFICATION

STATE OF WASHINGTON                   )




    1.-.
                                      ) ss.
COUNTY O F - - - -                    )

                    being first duly sworn on oath hereby certify and affirm that the
victim impact statement I have given is true and accurate to the best of my knowledge
and belief. I submit the statement to the court for its use in sentencing proceedings in
cases which involve the images of my daughter.




        SUBSCRIBED AND SWORN TO before me this               I(p day of 0 C-±v be-r.
2010.




        NOTARY PUBLIC in and       Stg_te of
        Washington, residing at___
        My Commission Expires _            _ _ _ __
      Case 1:22-cr-00009-DLF              Document 64-2         Filed 05/27/22       Page 6 of 8
Victim's Impact Statement- Step-Father of Victim Vicky Series                             October 1, 2010


To whom it may concern,

My family has endured five years, to date, of a living hell because of the selfish, perverted actions of a
very sick and evil individual. My daughter lived with this pain and trauma for six years prior, unable to
tell anyone because of the fear she had                             We thought we were dealing with one
"bad apple", but as time goes by we are finding that there are more and more of these sick individuals
that are viewing, and sickly satisfying their awful desires.

We still have the haunting memories of the letters in the mail, and emails letting us know of all the
individuals that are being prosecuted because they have our daughter's images, child pornographic
images, on their computer. We don't' receive the notices anymore, the pain and gut wrenching
reminder of receiving enough notices to over flow a 55 gallon drum is more than my family can take. It's
also unfathomable to know there are so many perverts in this country and around the world. It sickens
me and hurts me to the core knowing that so many perverts are viewing my little daughter as she was
made to dress up like a hooker, and is molested and raped time and time again. I am heartbroken
knowing that I couldn't protect my daughter. The letters and emails brought that pain up again and
again and I couldn't deal with that, knowing her innocence has been torn away and now how she is
continually reminded that her pictures will be there forever! This father's heart is broken.

My daughter carries her shame like a scarlet letter. She knows that if a friend or acquaintance looks her
up on the internet they are going to find the ugly, horrible, awful history that eats away at her self-
esteem and paralyzes or inhibits her ability to function at school and as a normal young adult. She
knows that this is the challenge that she has to live with, but the horrible trauma continues to take its
toll on her body and soul. The constant reminder that her pictures are out there brings forward the guilt
and shame, which cause nightmares and makes her want to isolate herself from others. Each time she
hears about these cases she looks so strong on the outside, but when you sit and talk with her you see
the pain, you hear the struggles and feel the sadness, despair and the emotional drain that it causes.

My family is asking for Justice with each case that is brought forward with these perverted individuals.
We are hoping and praying that they can understand how wrong they are and how hurtful their actions
are for each victim in the pictures and videos on their computers. We want them to know that they
have a choice to decide to view the images, or not, and because they have chosen to view these child
pornographic images they are victimizing each child viewed ... bring back the pain and suffering these
children have already had to endure. Our Justice System needs to protect these children from the
preying eyes and hands of these perverts, because they can't fight back, or don't know how to. Our
Justice System needs to understand that there is a victim in each of these images, and each time a
picture is downloaded these children are victimized again and again. Please help these perverted
individuals understand the significance of what they are doing and how each child is a victim because
each child has done nothing wrong.

My daughter is the strongest person that I know and I am so proud of her. It is extremely sad to see
how this horrible situation continues to beat her down emotionally and physically. She still has trouble
sleeping due to nightmares of the horrible trauma she went through, and also of new people finding out


                                                 Page 1 of2
       Case 1:22-cr-00009-DLF            Document 64-2          Filed 05/27/22        Page 7 of 8

Victim's Impact Statement- Step-Father of Victim Vicky Series                             October 1, 2010

who she is, or unknown people finding her and abusing her. She also has severe stomach aches and
headaches that incapacitate her, causing her to miss school and work. I pray that she can heal from the
trauma that her                   did to her and from the constant reminders that each of these sick
individuals bring with each download. I also pray for the rest of my family. The crimes against my
daughter have had untold effects on our other children, my wife and myself. This "living hell" that I first
mentioned is a day-to-day ordeal that can raise its ugly head at the most in-opportune times. Like my
daughter, we are sometimes paralyzed by the trauma that comes from being the parents of a sexually
abused child. The sad fact is this doesn't end, because my daughter's images will be out on the internet
forever, continually reminding her and us of how fragile we all are. The internet is such a powerful tool,
but child pornography, and how it perpetuates there-victimization of children is an extreme
consequence to our society as a whole, but specifically to our vulnerable children.

Our society views our children as precious little gifts that we should love and protect. Some sick,
perverted individuals use the internet as their evil play ground to share and use in their sick, fantasy
world. They choose to do this. They choose to push the buttons. They make a decision to download
and view. Actions sometimes have consequences, and when actions like this happen the consequences
should be powerful and lasting. Give my daughter her justice, so that she may completely heal some
day.

Respectfully,




                                                Page 2 of 2
 Case 1:22-cr-00009-DLF           Document 64-2         Filed 05/27/22       Page 8 of 8




p
                                     VERIFICATION

STATE OF WASHINGTON                  )
                                     ) ss.
                                     )

    I, • • • • being first duly sworn on oath hereby certify and affirm that the victim
impact statement I have given is true and accurate to the best of my knowledge and
belief. I submit the statement to the court for its use in sentencing proceedings in cases
which involve the images of my step-daughter.




        SUBSCRIBED AND SWORN TO before me this                   day of   Ou/-ob<.h
2010.
